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                            United States District Court
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

UNITED STATES OF AMERICA          §
                                  §
V.                                §                            CRIMINAL NO. 3:18-CR-00288-S
                                  §
LUIS FERNANDO SALAZAR ANGELES (5) §


          ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
       UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(b)(I), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is con-ect, and it is hereby accepted by the Court. Accordingly, the Comi accepts the
plea of guilty, and LUIS FERNANDO SALAZAR ANGELES is hereby adjudged guilty of 18
U.S.C. § 3 Accessory After the Fact to a Conspiracy to Interfere with Commerce by Robbery.
Sentence will be imposed in accordance with the Court's Scheduling Order.

181      The Defendant is ordered to remain in custody.

□        The Court adopts the findings of the United States Magistrate Judge by clear and
         convincing evidence that the Defendant is not likely to flee or pose a danger to any other
         person or the community if released and should therefore be released under 18 U.S.C. §
         3142(b) or (c).

D        Upon motion, this matter shall be set for hearing before the United States Magistrate Judge
         who set the conditions of release for determination, by clear and convincing evidence, of
         whether the Defendant is likely to flee or pose a danger to any other person or the
         community if released under § 3 l 42(b) or (c).

D        The Defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The Defendant
         shall self-sun-ender to the United States Marshal no later than Select Date.

D        The Defendant is not ordered detained pursuant to § 3143(a)(2) because the Comi finds:
         D      There is a substantial likelihood that a motion for acquittal or new trial will be
         granted, or
         D      The Government has recommended that no sentence of imprisonment be imposed,
                and
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